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     ABDALLAH OSSEILY
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 7
 8
 9                               UNITED STATES DISTRICT COURT

10                              CENTRAL DISTRICT OF CALIFORNIA

11
12 UNITED STATES OF AMERICA,                   Case No. 19-CR-00117-JAK

13                 Plaintiff,                  RESPONSE IN OPPOSITION TO
                                               GOVERNMENT’S MOTION TO
14          VS.                                CONTINUE TRIAL

15 ABDALLAH OSSEILY,                           Trial Date:   December 17, 2019
                                               Trial Time:   9:00 a.m.
16                 Defendant.                  Location:     Courtroom of the
                                                             Hon. John A. Kronstadt
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 1 I.       INTRODUCTION

 2          Three weeks before trial, the government seeks a 90-day continuance so that it can have

 3 additional time to file its motion under the Classified Information Procedures Act (CIPA). The
 4 government provides no justification for why it waited until November (five months after
 5 indictment) to begin preparing its CIPA filing. The government was aware of its discovery
 6 obligations when it filed the present charges, but sat on exculpatory and discoverable classified
 7 information for months. Now the government expects the Court to accommodate the bureaucratic
 8 constraints of the Department of Justice by extending it carte blanche.
 9          Defendant Abdallah Osseily has maintained his innocence throughout these proceedings

10 and has asserted his right to a speedy trial. Mr. Osseily and his counsel have been diligently
11 preparing for trial and are prepared to proceed on the currently scheduled trial date. In contrast, the
12 government has failed to exercise the requisite due diligence set by Congress under the Speedy
13 Trail Act. This Court should not reward the government’s conduct under these circumstances and
14 should deny the government’s request for a continuance.
15 II.      STATEMENT OF FACTS

16          The government has been surveilling and investigating defendant for several years. It

17 presented this case to the grand jury on June 28, 2019. (CR 1). The government knew then, or
18 should have known, that it possessed classified discoverable information that was exculpatory.
19 This Court ordered the government through its Initial Standing Order For Criminal Cases to
20 produce all discovery in its possession within seven days of the Post Indictment Arraignment. The
21 government should have filed its motion under CIPA then.
22          Additionally, trial has already been continued in this matter from September 17, 2019 to

23 December 17, 2019 to allow the government additional time to prepare and produce discovery.
24 (CR 21). In October of 2019, undersigned counsel substituted in as counsel of record for this case.
25 At that time counsel sent the government a formal discovery request seeking several categories of
26 records, including all Brady materials. The discovery request specifically covered both classified
27 and unclassified materials. A copy of defendant’s discovery request is attached hereto as
28

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 1 Exhibit A.1
 2          But the government did not start the process of gathering the potential Brady and Giglio

 3 classified materials until November 2019. Through its motion to continue, the government is
 4 acknowledging that it possesses potentially discoverable information that it intends to submit to
 5 the Court under CIPA.
 6          Still, more than five months post-indictment and less than fifteen days before trial, the

 7 government has not filed its CIPA motion and has only filed a boilerplate pleading indicating an
 8 “intent” to invoke CIPA. (CR 32). The government attempts to shift justification for the trial
 9 continuance to the Court by explaining that the “Court needs time to examine the record and
10 decide whether the government has appropriately invoked a classified information privilege over
11 the relevant materials and to ensure that any information that is ‘relevant and helpful to the
12 defense of an accused’ is disclosed to defendant.” (Govt’s Mot. at 6). The government says
13 nothing about why it failed to file its CIPA motion within the proceeding five months.
14          Now the government seeks a 90-day continuance for trial, further delaying Mr. Osseily’s

15 constitutional and statutory rights to a speedy trial, further delaying his civil case seeking a
16 determination on his naturalization application (which appears the be the government’s primary
17 motive for bringing this criminal case), further subjecting him to bad faith tactics by the
18 government to create additional criminal charges, and further encumbering his brother’s property
19 with a $300,000 bond.2 Mr. Osseily has asserted his right to a speedy trial and desires to proceed
20 on the currently scheduled trial date.
21          Notably, the government’s motion is unaccompanied by a declaration or other testimony

22 concerning why the government needs an additional 90 days to comply with its discovery
23 obligations and prepare for trial. The government has simply provided artificial time estimates it
24
25          1
            Defendant’s prior counsel sent a similar discovery request at the initiation of these
26 proceedings.
          2
            While the government claims it has “repeatedly” offered to reexamine defendant’s bond
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   (Gov’t Mot. at 9), to date the government has only indicated a willingness to allow a substitution of
28 another property. It has not indicated a willingness to reconsider the amount or nature of the bond.

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 1 claims are needed to respond to defense motions and to prepare its CIPA filing. There is no
 2 indication as to why the government needs weeks, not days, for these filings. There is also no
 3 indication or representation as to the quantity of materials it is currently evaluating for its CIPA
 4 filings.
 5            The law cannot, and does not, support the government’s position here. In fact, because the

 6 government has effectively conceded that it has not complied with its discovery obligations at this
 7 late date, Mr. Osseily is forced to evaluate whether to move to dismiss his case for violation of his
 8 rights under Brady, Giglio, and Rule 16(a)(1)(E).
 9 III.       THE GOVERNMENT HAS NOT DEMONSTRATED DUE DILIGENCE IN ITS

10            HANDLING OF DISCOVERY, THUS A CONTINUANCE IS IMPROPER

11            The government requests this trial continuance “in the interests of justice” pursuant to 18

12 U.S.C. § 3161(h)(7)(A), and seeks to exclude time under §§ 3161(h)(7)(B)(i), (B)(ii), and (B)(iv).
13 (Gov’t Mot. at 1). But 18 U.S.C. § 3161(h)(7)(C) provides that “No continuance under
14 subparagraph (A) of this paragraph shall be granted because of general congestion of the court's
15 calendar, or lack of diligent preparation or failure to obtain available witnesses on the part of the
16 attorney for the Government.” (emphasis added).3
17            The government has not demonstrated due diligence. Instead, it admits that it did not even

18 begin assembling materials for its CIPA filing until recently and requests several more weeks to
19 complete the process. The government indicted this case in June. It knew its discovery obligations
20 at that time, and it took no steps to comply until November. Present defense counsel has been
21 requesting this information since October, and prior counsel made similar discovery requests. It is
22 inappropriate for the government to fail to prepare Brady material and then simply ask the Court
23 for additional time when a defendant asserts his right to a speedy trial. The government has not
24
25
              3
                  See e.g. United States v. Dog Taking Gun, 7 F. Supp. 2d 1118, 1121-22 (D. Mont. 1998)
26 (“Here the FBI, acting on behalf of the United States, had all the pertinent evidence in its possession,
27 custody and control for over a year. . . .The lack of diligence by the FBI in processing evidence, and
   the congested workload of the FBI lab do not constitute a factual basis to exclude time from the
28 Speedy Trial computation ‘in the interests of justice.’”).

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 1 citied any cases standing for the proposition that a continuance is proper when the government has
 2 not yet turned over Brady material that is and has been in the DOJ’s actual possession for months
 3 or years—which is the case here.4
 4          The fact that it will take the government weeks to assemble a motion and/or respond to

 5 defendant’s motion, is not a relevant factor for the Court. As the court correctly noted in United
 6 States v. Dog Taking Gun:
 7          [W]hen balancing the demand of Congress that the Public and the Defendant have a

 8          statutory right to a speedy public trial, the rights of the defendant cannot be

 9          compromised by the [FBI]'s administrative processing of evidence. Thus, the

10          Government either complies with the Rules of Criminal Procedure, or as here, when

11          it fails to do so, the defendant cannot be charged with the problems of bureaucracy.

12          The lack of diligence by the FBI in processing evidence, and the congested workload

13          of the FBI lab do not constitute a factual basis to exclude time from the Speedy Trial

14          computation "in the interests of justice."

15          7 F. Supp. 2d 1118, 1122 (D. Mont. 1998). Likewise, Mr. Osseily cannot be charged with

16 the problems of the Department of Justice’s bureaucracy in timely submitting its motions. For this
17 reason alone, the motion to continue should be denied.
18 IV.      THE GOVERNMENT’S REQUEST TO DESIGNATE THIS CASE AS

19          “COMPLEX” IS DISINGENUOUS

20          The primary basis for the government’s request to continue is that this case warrants a

21 complex case designation. (Gov’t Mot. at 6). In support of its position, the government cites an
22 Eastern District of Virginia district court case granting the government’s motion to continue. In
23 United States v. Salad, the government charged fourteen defendants with hijacking an American
24 yacht, holding U.S. citizens hostage, and ultimately killing the hostages. 779 F. Supp. 2d 509
25 (E.D. Va. 2011). The court cited several factors in its decision to designate the case as complex
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27          4
          Defendant recently filed a motion to compel seeking unclassified Brady materials in the
28 government’s possession that have not been disclosed. (CR 38).

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 1 and continue the trial, which included logistical considerations with obtaining evidence and
 2 information outside the country, the need for Somali interpreters, the number of defendants, the
 3 alleged offense, and the fact that only two of the fourteen defendants opposed the government’s
 4 motion. Id.
 5          With regard to the government’s representation to invoke CIPA, the court stated,

 6 “Although the mere possibility of the involvement of classified information in a case might not
 7 suffice, by itself, to justify a continuance beyond the Act's time period, it certainly remains a
 8 relevant factor in this matter in light of the other circumstances discussed herein.” Id. at 514. The
 9 court made clear that the government’s intent to invoke CIPA was probably insufficient by itself
10 to warrant a continuance under the Speedy Trial Act. The “other circumstances” discussed by the
11 court were the primary factors that persuaded the court to grant the continuance.
12          The present case shares none of the other factors discussed in Salad. There are no co-

13 defendants, no need for an interpreter, no issues with out-of-country evidence, and the charged
14 conduct is common bank fraud and providing a false statement. Simply put, this case is not
15 complex.
16          Defendant’s position is supported by relevant Ninth Circuit authority. In United States v.

17 Perez-Reveles, the appellate court reversed the lower court’s order excluding time under the
18 Speedy Trial Act on the purported basis that the case was complex. 715 F.2d 1348 (9th Cir. 1983).
19 Specifically, the court held that:
20          Although the complexity of the case is a permissible factor under [the Speedy Trial

21          Act], the mere conclusion that the case is complex is insufficient. The statement gives

22          no indication why the court considered the case complex, and the record suggests

23          that findings could not have been made to support the conclusion. There was a single

24          defendant, charged with a common violation of the narcotics laws, and the case took

25          only two days to try.

26           Id. at 1352-53. As a result, the court reversed defendant’s convictions and remanded the

27 case for dismissal of the indictment on the basis that defendant's trial did not commence within the
28 70-day period required by the Speedy Trial Act. Similarly, this case involves a single defendant,

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 1 charged with common bank fraud and false statement counts, and the trial will likely take no more
 2 than three days. The government’s intent to invoke CIPA, alone, is simply insufficient to
 3 constitute a complex designation.
 4          Additionally, and most tellingly, the government had a prior opportunity to designate this

 5 matter as “complex” at the initiation of this case. In the Case Summary form completed by the
 6 government on June 26, 2019, the government represented that this case was not complex when
 7 answering the Court’s questions on the form. (CR 5). Now, on the eve of trial, the government has
 8 reversed its position and deems this case complex. The government cites no facts to warrant the
 9 reversal of its position between the time this case was filed and today. The request to designate
10 this case as complex is nothing but a veiled attempt to buy the government more time.
11 V.       THE GOVERNMENT’S REQUEST TO CONTINUE TRIAL FOR 90 DAYS IS

12          UNREASONABLE

13          The government has failed to provide sufficient good cause for its 90-day continuance

14 request, and for the reasons discussed above, failed to demonstrate the requisite due diligence. As
15 a general matter, “It is well established that the granting or denying of continuances lies with the
16 sound discretion of the trial judge.” United States v. Veatch, 674 F.2d 1217, 1226 (9th Cir. 1981);
17 see also Morris v. Slappy, 461 U.S. 1, 11 (1983) (“Trial judges necessarily require a great deal of
18 latitude in scheduling trials. . . . Consequently, broad discretion must be granted trial courts on
19 matters of continuances.”).
20          The purpose of the Speedy Trial Act militates against all but the most necessary delays.

21 “The Act prohibits excluding from time computations under the law, the delay caused by a
22 continuance in two specific situations: (1) when it is sought because of general congestion of the
23 trial court's calendar or (2) when it is sought by the government because of its lack of diligent
24 preparation or its failure to obtain available witnesses.” United States v. Aviles, 623 F.2d 1192,
25 1195 (7th Cir. 1980).
26          The government’s request to continue the trial for 90 days is premised primarily on its

27 need to prepare its CIPA filing. It provides an additional caveat that the “present 90-day
28 continuance request only accounts for the anticipated CIPA practice; additional FISA litigation

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 1 may delay the proceedings further.” (Gov’t Mot. at 3). The government provides no justification
 2 for the extreme length of time it requires to prepare such motions. There is no information
 3 concerning the volume of documents at issue, the length of its proposed filing, or other factors that
 4 would justify the length of the requested continuance. Under the government’s arguments, the
 5 government would have the unilateral authority to continue trial indefinitely by slow-walking the
 6 filing of motions. Such an outcome is unjust and works against the intention of Congress in
 7 enacting the Speedy trial Act.
 8 VI.      CONCLUSION

 9          Mr. Osseily respectfully requests that the motion to continue be denied. In the alternative,

10 should the Court determine that a short continuance is necessary over defendant’s objections, any
11 continuance should be a matter of weeks, not months as requested by the government.
12
13 DATED: December 2, 2019                     ESSAYLI & BROWN LLP

14                                             By:    /s/ Bilal A. Essayli
15                                                   BILAL A. ESSAYLI
                                                     D. ANDREW BROWN
16
                                                     Attorneys for Defendant
17                                                   ABDALLAH OSSEILY

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                   Exhibit “A”
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(949) 508-2982
bessayli@essaylibrown.com

October 16, 2019



[VIA E-MAIL]

Annamartine Salick
Assistant United States Attorney
312 N. Spring St.
Los Angeles, California 90012



       Re:    United States v. Abdallah Osseily (19-CR-00117-JAK)

Dear Ms. Salick:

        Please allow this letter to serve as our official request for discovery in the above
referenced case. Defendant Abdallah Osseily hereby requests the Government1 to
produce the following items (whether they are classified or unclassified), to the extent
they may exist, for his inspection and use in connection with the preparation, and/or
trial, and/or sentencing in the above—referenced case:

       A.     Any relevant written or recorded2 statements3 made or adopted by the
Defendant, or copies thereof, within the possession, custody, or control of the
Government, the existence of which is known, or by the exercise of due diligence may
become known, to the Government; that portion of any written record containing the
substance of any relevant oral statement made by the Defendant whether before or
after arrest in response to interrogation by any person then known to the Defendant

       1
       The term "Government" as used throughout this Request includes all branches of the
Government, all levels of the Government and all agencies within each branch and level of
Government.
       2
        The term "recorded" as used throughout this Request includes both audio and visual
recordings.
      3
        The term "statements" as used throughout this Request includes any form of assertive
conduct and is, therefore, not limited to verbal statements.
(footnote continued)
                   Essayli & Brown LLP · 100 Bayview Circle · Suite 100 · Newport Beach, CA · 92660
                                                             Main: 949.508.2980 · essaylibrown.com
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to be a Government agent; and recorded testimony of the Defendant before a grand
jury which relates to the offense charged. Please also disclose the substance of any
other relevant oral statement made by the Defendant whether before or after arrest
in response to interrogation by any person then known by the Defendant to be a
Government agent if the Government intends to use the statement at trial. See Fed.
R. Crim. Proc. 16(a)(1)(A).4

      B.    A copy of the Defendant’s prior criminal record, if any, as is within the
possession, custody, or control of the Government, the existence of which is known,
or by the exercise of due diligence may become known to the Government. See Fed.
R. Crim. Proc. 16(a)(1)(B).

      C.   Books, papers, documents, photographs, tangible objects, or copies or
portions thereof, which are within the possession, custody or control of the
Government, and which are related to the above referenced case, or are intended for
use by the Government as evidence at trial, or were obtained from or belong to the
Defendant. See Fed. R. Crim. Proc. 16(a)(1)(C).

       D.    Any results or reports of physical or mental examinations, and of scientific
tests or experiments, or copies thereof, which are within the possession, custody, or
control of the Government, the existence of which is known, or by the exercise of due
diligence may become known, to the Government, and which are related to the above
referenced case or are intended for use by the Government as evidence at trial. See
Fed. R. Crim. Proc. 16(a)(1)(D). We also specifically request you to preserve for testing
by the Defendant any and all substances capable of being tested by scientific means
whether or not such substances were tested by the Government.

      E.     A complete written summary of testimony to be presented by any
Government witness called as an expert witness including the witness’ opinions, the
basis and the reasons therefore, and his/her qualifications. See Fed. R. Crim. P.
16(a)(1)(E).

       F.    All evidence favorable to the Defendant which is material either to the
issue of guilt or punishment in the above referenced case or which serves to impeach
a Government witness who will testify at trial. See generally Brady v. Maryland, 373
U.S. 83 (1963); Giglio v. United States, 405 U.S. 150 (1972). This request includes, but
is by no means limited to:



       4
        This Request is also intended to cover the substance of Defendant’s response to Miranda
warnings if such warnings were given. See United States v. McElroy, 697 F.2d 459 (2d Cir. 1982).
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         1.    The existence of any witness known to the Government who is
   favorable to the defense together with any and all statements made or adopted
   by that witness (whether they be written, recorded or the substance of oral
   statements) within the custody or control of the Government, the existence of
   which is known, or by the exercise of due diligence may become known to the.
   Government.

         2.    Any statements made or adopted by any individual (including co—
   defendants) (whether they be written, recorded or the substance of oral
   statements) within the custody or control of the Government, the existence of
   which is known, or by the exercise of due diligence may become known to the
   Government, which exculpate or do not mention the Defendant.

         3.    Any and all evidence showing any bias, narcotic habit, psychiatric
   treatment, lack of competence, lack of impartiality, or criminal record, on the
   part of any witness the Government intends to call to testify at trial in the above
   referenced case.

         4.    The results of any lie detector tests given to the Defendant or
   witnesses the Government intends to call to testify at trial in the above
   referenced case.

         5.    Any promises, rewards and inducements (financial or otherwise)
   offered (including a list of payments) or any threats of criminal prosecution
   made to any witness the Government intends to call to testify at trial in the
   above referenced case.

        6.   Presentence investigation reports, if any, relating to any witness the
   Government intends to call to testify at trial in the above—referenced case.

          7.    Any and all evidence about which the Government is now aware, or
   about which the Government may become aware by the exercise of due
   diligence that might indicate, however remotely, that another individual
   committed the offense(s) for which the Defendant now stands accused. This
   includes all evidence which the Government believes indicates that another
   individual committed the offense(s) in connection with the Defendant.

         8.     Names and addresses of eyewitnesses to the offense(s) for which
   the Defendant now stands accused whose identity is now known, or by the
   exercise of due diligence may become known to the Government.

          9.    Information regarding any indecisive, incomplete or hesitant
   identification of the Defendant by any witness to the offense(s) for which the
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      Defendant now stands accused (regardless of whether the Government intends
      to call that witness to testify at trial).

             10.   Any and all information that tends to detract from the credibility or
      probative value of the testimony and/or evidence that the Government
      anticipates it will present at trial or sentencing in the above referenced case.

           11.    Any and all differences between information provided to the
      government by a cooperating witness and information provided to the
      government in a proffer made by that witness’s attorney. See Spicer v. Roxbury
      Correctional Institute, No. 99-6119 (4th Cir. 1999).

       G.   Copies of any statements made or adopted by any alleged co—
conspirator, co—defendant or agent of the Defendant regardless of whether the
Government intends to introduce these statements at trial. See United States v. Turoff,
701 F. Supp. 981 (E.D.N.Y. 1988).

       H.    The identify of any informant connected to the above referenced case
who was a percipient witness to or participated in the alleged defense. See Roviaro v.
United States, 353 U.S. 53 (1957). The Defendant also requests information regarding
the present address of said informant; any prior criminal record of said informant; any
bias, narcotic habit, psychiatric treatment, lack of competence, lack of credibility, lack
of impartiality, or criminal record on the part of said informant; and any promises,
rewards and inducements (financial or otherwise) offered or any threats of criminal
prosecution made to said informant.

       I.     Any statements made or adopted by witnesses which the Government
intends to call to testify at any hearing (including a sentencing hearing) connected
with the above referenced case, or notes made by said witnesses within the
possession, custody, or control of the Government, the existence of which is known,
or by the exercise of due diligence may become known to the Government. See 18
U.S.C. Sec. 3500; Fed. R. Crim. Proc. 26.2. This includes any statements made by a
government witness while he or she was incarcerated in the course of telephone
conversations with government agents or others that were tape recorded by the
institution in which the witness was incarcerated. See United States v. Ramirez, 174
F.3d 584 (5th Cir. 1999).

      J.    The general nature of any and all evidence the Government intends to
introduce at trial pursuant to Fed. R. Evid. 404(b). See Fed. R. Evid. 404(b). The
Defendant further requests a statement of the Government’s theory of admissibility
with respect to all such evidence.
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      K.    Facts and circumstances of the offense and offense characteristics that
are relevant to the application of the Sentencing Guidelines. See U.S.S.G. ⁄ 6B1.2,
Commentary.

     Defendant hereby requests that the Government comply with the above
Requests or inform Defendant of the Government’s intent not to comply on or before
November 1, 2019 so that Defendant will be able to effectively prepare his defense.

      Please note that the Defendant specifically requests all items he is entitled to
review as provided by the United States Constitution, the laws of the United States,
the Federal Rules of Criminal Procedure, the Federal Rules of Evidence, the United
States Sentencing Guidelines and/or existing case law. If those sources require
production of items not specifically requested herein, a request for these items is now
specifically made. Furthermore, this request is a continuing request; if the Government
discovers additional evidence or material responsive to any of the above Requests
subsequent to the Government’s initial production, the Government shall promptly
and without delay provide the Defendant with the additional evidence or material. See
Fed. R. Crim. Proc. 16(c).

       In the event that the Government fails to produce all, or any part, of the evidence
or materials herein requested, the Defendant reserves the right to oppose the
introduction of such evidence or materials at any hearing in the above referenced case
and/or move for dismissal of the indictment against the Defendant. See Fed. R. Crim.
Proc. 16(d)(2).

      Your anticipated cooperation is appreciated.



                                          Very truly yours,



                                          Bilal A. Essayli
